     Case 6:96-cr-00004-JRH-CLR Document 767 Filed 05/17/06 Page 1 of 4

                                                                    F(1.. I
                                                        'U .S . L11ST '1 :,- GU


               UNITED STATES DISTRICT COUNT ', 17 P'l

               SOUTHERN DISTRICT OF GE O

                      STATESBORO DIVISIO N

BENJAMIN BREWER, )

     Movant,                       )

v.    )     Case                       No . CV605-123
                                            [CR696-0041
UNITED STATES OF AMERICA,          )

      Respondent.


                REPORT AND RECOMMENDATIO N

      Movant has filed a motion to vacate, set aside, or correct his federal

prison sentence pursuant to 28 U .S.C . § 2255 and "Federal Rule 12(b)(2)

and 52(b) ." Doe. 1 . The government filed a motion to dismiss movant's

petition on the ground that it is a successive § 2255 petition filed without

prior authorization from the Eleventh Circuit Court of Appeals . Doc. 3 .

For the following reasons, the government's motion should be GRANTED

and movant's motion be DISMISSED .

      This Court sentenced movant to 157 months' imprisonment on July

25, 1996 after a jury convicted him of conspiracy to possess with intent to

distribute cocaine and cocaine base and use of a firearm during a drug
     Case 6:96-cr-00004-JRH-CLR Document 767 Filed 05/17/06 Page 2 of 4




trafficking crime . CR696-004, docs . 325, 384 . The Eleventh Circuit

affirmed movant's convictions and sentence on January 7, 2000 . United

States v. Brewer, 199 F.3d 1283 (11th Cir . 2000) . Movant previously filed

a § 2255 motion in this Court on December 12, 2000 . CV600-133, doc. 1 .

The Court issued a Report and Recommendation which recommended

denial of the motion . CV600-133, doc . 4 . The district judge adopted the

Court's Report and Recommendation on January 24, 2001 . Id., doc. 6. The

Eleventh Circuit denied movant's motion for a certificate of appealability

on November 5, 2001 . Id., doc. 11 .

      According to the Antiterrorism and Effective Death Penalty Act of

1996, Pub . L . 104-132, Stat . 1214, "before a second or successive application

permitted by [§ 2255] is filed in the district court, the applicant shall move

in the appropriate court of appeals for an order authorizing the district

court to consider the application ." 28 U.S.C . § 2244(b)(3)(A) ; see 28 U .S .C.

§ 2255 (cross-referencing § 2244 certification requirement) .

      The Seventh Circuit has held that this provision "is an allocation of

subject-matter jurisdiction to the court of appeals . A district court must

dismiss a second or successive petition, without awaiting any response fro m



                                        2
      Case 6:96-cr-00004-JRH-CLR Document 767 Filed 05/17/06 Page 3 of 4




the government, unless the court of appeals has given approval for its

filing." Nunez v. United States , 96 F.3d 990, 991 (7th Cir. 1996) (emphasis

in original) . The Eleventh Circuit has reached the same result . Hill v.

Hopper, 112 F .3d 1088, 1089 (11th Cir . 1997) (finding district court lacked

jurisdiction to consider second § 2254 petition) ; In re Medina , 109 F .3d at

1561 (11th Cir . 1997) (holding district court properly denied successive

petition because movant neglected to obtain certificate from federal

appellate court authorizing consideration of motion) .

       The Court finds that the instant petition is properly classified as a

§ 2255 motion .' Because movant has already filed under § 2255 and has

failed to provide certification from the Eleventh Circuit authorizing this

Court to hear this motion, this Court is without jurisdiction to conside r


       IMovant asserts "Federal Rule 12(b)(2) and 52(b)" as alternative grounds for
granting the requested relief. Doc. 1 . Fed. R. Crim . P. 12(b)(2) fails to support movant's
position, since that Rule provides for motions that maybe made prior to trial . Similarly,
Fed . R. Crim. P . 52(b) does not provide movant with a method for collaterally attacking
his sentence . See United States v . Frady , 456 U .S. 152, 163-64 (1982) (Rule 52(b) was
intended to provide a means for the prompt redress of "miscarriages of justice" occurring
in the trial court, and "[blecause it was intended for use on direct appeal, the `plain
error' standard is out of place when a prisoner launches a collateral attack against a
criminal conviction . . . . ") . The government notes that movant may be asserting that
the indictment failed to invoke the Court's jurisdiction under Fed . R. Crim . P.
12(b)(3)(B) . Doc . 3 . Such a claim may only be made while the case is pending, however,
and therefore affords movant no relief . See Fed . R . Crim . P. 12(b)(3)(B) ("at any time
while the case is pending, the court may hear a claim that the indictment . . . fails to
invoke the court's jurisdiction . . . .") .

                                             3
    Case 6:96-cr-00004-JRH-CLR Document 767 Filed 05/17/06 Page 4 of 4




movant's petition at this time . Accordingly, the Court recommends that

the instant § 2255 motion be DISMISSED as successive.

                                                           1-3 z
        SO REPORTED AND RECOMMENDED this B. day of May,
2006.


                                        UNITED S S MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




                                    4
